Case 19-00508-dd       Doc 11     Filed 03/04/19 Entered 03/05/19 08:24:58           Desc Main
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                    UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF SOUTH CAROLINA


IN RE:                                                       C/A No. 19-00508-dd
Audrey Conklin Moran                                              Chapter 7




                                                    ORDER GRANTING RELIEF FROM
                                    Debtor(s).           AUTOMATIC STAY



This matter is before the Court on motion (dkt. #10) of Ocwen Loan Servicing, LLC as servicer
for U.S. BankNational Association, as Trustee, successor in interest to Bank of America National
Association, as Trustee, successor by merger to LaSalle Bank Nati ("Movant") seeking relief
from the automatic stay. The Movant has waived claims arising under 11 U.S.C. §§ 503(b),
507(b) and agreed that any funds realized from the disposition of its collateral in excess of all
liens, costs, and expenses will be paid to the trustee or bankruptcy estate. Based upon the
certification of Movant the motion is granted and it is

ORDERED that the automatic stay is lifted as to: 212 Lake Avenue, St. James, NY 11780 (the
"collateral"). Movant may send any required notice to Debtor(s) and proceed with its remedies
against the collateral.

AND IT IS SO ORDERED


 FILED BY THE COURT
     03/04/2019




                                                   David R. Duncan
                                                   Chief US Bankruptcy Judge
                                                   District of South Carolina


   Entered: 03/05/2019
